           Case 2:25-cv-02465-GRB-AYS             Document 1        Filed 04/29/25      Page 1 of 9 PageID #: 1



                                       UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF NEW YORK


            Orville Spencer
            12 Jarvin Road
            P01t Jefferson, New York 11776                     COMPLAINT
                             Plaintiff,

            V.
                                                              JURY TRIAL DEMANDED


            JPMORGAN CHASE & CO.                                               CV 25 2465
            383 Madison Avenue
            New York, NY 10179
                        Defendant,                             CASE NO.       Brown, J.

                                                                              Shields, MJ.

                                                 INTRODUCTION

            1. This lawsuit is filed by Orville Spencer (referred to as "Plaintiff''), an individual consumer,
            against JPMORGAN CHASE & CO. ("Defendant") for alleged violations of the Fair Credit
            Reporting Act (FCRA), 15 U.S.C. § 1681 et seq. The Plaintiff seeks legal relief for inaccurate,
            misleading, false, and erroneous credit reporting, which constitutes a violation of the FCRA.
            Through this civil action, Plaintiff aims to hold Defendant accountable for unlawful credit
            reporting practices and to seek actual, punitive, and statutory damages.

            2. Congress has recognized that the integrity of the banking system relies on fair and accurate
            credit reporting. When credit reports contain inaccuracies, they undermine public confidence and
            reduce the efficiency of the financial sy stem. Unfair credit reporting practices can erode trust in
            financial institutions, which is crucial for the stability of the banking industry. To address these
            concerns, Congress enacted the Fair Credit Reporting Act (FCRA), 15 U.S.C. § 1681 et seq.,
            with the goal of ensuring accurate and fair credit reporting, improving the efficiency of financial
            operations, and safeguarding consumer privacy.

            3. The FCRA establishes a structured set of safeguards designed to protect consumers from the
            potential harm caused by inaccurate credit reporting. By implementing these protections, the
            FCRA minimizes the risks associated with false or misleading credit information. CongressR,!ECEIVED

REC'D fill PRO SE OFFICE                                Page 1 of 8                                       APR� 2025
  APR 29 '25 AMll:46
                                                                                                     EDNV ,Ro 8E OFFICE
Case 2:25-cv-02465-GRB-AYS   Document 1   Filed 04/29/25   Page 2 of 9 PageID #: 2
Case 2:25-cv-02465-GRB-AYS   Document 1   Filed 04/29/25   Page 3 of 9 PageID #: 3
Case 2:25-cv-02465-GRB-AYS   Document 1   Filed 04/29/25   Page 4 of 9 PageID #: 4
Case 2:25-cv-02465-GRB-AYS   Document 1   Filed 04/29/25   Page 5 of 9 PageID #: 5
Case 2:25-cv-02465-GRB-AYS   Document 1   Filed 04/29/25   Page 6 of 9 PageID #: 6
Case 2:25-cv-02465-GRB-AYS   Document 1   Filed 04/29/25   Page 7 of 9 PageID #: 7
Case 2:25-cv-02465-GRB-AYS   Document 1   Filed 04/29/25   Page 8 of 9 PageID #: 8
Case 2:25-cv-02465-GRB-AYS   Document 1   Filed 04/29/25   Page 9 of 9 PageID #: 9
